 8:95-cr-00133-LSC-TDT         Doc # 171         Filed: 04/07/06    Page 1 of 1 - Page ID # 31




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )                8:95CR133
               vs.                           )
                                             )                     ORDER
GABINO FLORES,                               )
                                             )
                      Defendant.             )
       Defendant Gabino Flores (Flores) appeared before the court on March 27, 2006, on a
Report on Offender Under Supervision (Report) (Filing No. 165). Flores was represented by
Assistant Federal Public Defender Michael F. Maloney, and the United States was represented
by Assistant U.S. Attorney William W. Mickle, II . Through his counsel, Flores requested a
probable cause hearing on the Report pursuant to Fed. R. Crim. P. 32.1(a)(1). A hearing was
scheduled for April 7, 2006.
       The government moved for detention. Through counsel, Flores declined to present any
evidence on the issue of detention and otherwise waived a detention hearing. Since it was
Flores’ burden under 18 U.S.C. § 3143 to establish by clear and convincing evidence that he
is neither a flight risk nor a danger to the community, the court found Flores had failed to carry
his burden and that Flores should be detained pending further disposition of this matter. A
separate order of detention was issued (Filing No. 169).
       Flores next appeared before the court on April 7, 2006. Flores was represented by
Assistant Federal Public Defender Michael F. Maloney, and the United States was represented
by Assistant U.S. Attorney Bruce W. Gillan. At the parties’ request the court took judicial notice
of the Report and the Indictment in United States v. Gabino Flores-Padilla, No. 8:06CR79 (D.
Nebr.). The parties stipulated that Flores was the same person as the person charged in the
Indictment. There was no further evidence by either side.
       I find that the Report alleges probable cause and that Flores should be held to answer
for a final dispositional hearing before Judge Laurie Smith Camp.
       IT IS ORDERED:
       A final dispositional hearing will be held before Judge Laurie Smith Camp, in Courtroom
No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska, at 11:30 a.m. on April 17, 2006. Defendant must be present in person.
       DATED this 7th day of April, 2006.
                                                      BY THE COURT:
                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge
